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                    IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF OREGON



 UNITED STATES OF AMERICA,
                                                Case No. 3:15-cr-00438-JO
                            Plaintiff,
                                                THIRD MOTION TO CONTINUE
                     v.                         SENTENCING HEARING DATE


 WINSTON SHROUT,

                            Defendant.

      The defendant, Winston Shrout, through counsel, Ruben L. Iñiguez, moves the

Court to enter an Order continuing the current sentencing hearing date for 90 days (i.e.,

until May 21, 2018). Sentencing is currently scheduled for February 20, 2018. ECF 122.




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This motion constitutes Mr. Shrout’s third request to continue the sentencing hearing

date. See ECF 117 and 121. 1

        The underlying bases supporting this motion are set forth in the Ex Parte

Declaration of Counsel filed contemporaneously herewith.

        The U.S. Probation Office, through Theresa Fuchs, does not oppose this motion.

The government, through its lead counsel, Stuart A. Wexler, Trial Attorney, Tax Division,

indicates it “would generally oppose any motion to continue sentencing at this stage

without further details regarding the basis of the motion.”

        RESPECTFULLY submitted this 23rd day of January, 2018.

                                                /s/ Ruben L. Iñiguez
                                                Ruben L. Iñiguez
                                                Assistant Federal Public Defender




        1
         The government first requested a continuance of the initial sentencing hearing date. Neither Mr.
Shrout nor the Probation Office opposed the request. The Court granted the government’s request and
continued the hearing until September 26, 2017. CR 116. Mr. Shrout subsequently moved for a
continuance. ECF 117. Neither the government nor the Probation Office opposed it. The Court granted
his motion and continued the hearing until January 9, 2018. CR 119. Mr. Shrout then moved for a second
continuance. ECF 121. Neither the government nor the Probation Office opposed the motion. Id. The
Court granted the unopposed motion and continued the hearing until February 20, 2018. CR 122.


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